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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

CHRISTIAN DIOR COUTURE, S.A.,
                                                     Case No. 19-cv-04151
              Plaintiff,
                                                     Judge Robert M. Dow, Jr.
v.
                                                     Magistrate Judge Gabriel A. Fuentes
ZHANG ZHEN, et al.,

              Defendants.


                     NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Plaintiff Christian Dior Couture, S.A. (“Dior” or “Plaintiff”) hereby dismiss this action

with prejudice as to the following Defendants:

               Defendant Name                                      Line No.
                iawesome Store                                       102
                  Vina's store                                        89

Dated this 12th day of September 2019.      Respectfully submitted,

                                            /s/ Allyson Martin
                                            Allyson Martin
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